     Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 1 of 28




                                No. 21-55757


       IN THE UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT

                          LYDIA OLSON, et al.,

                                                    Plaintiffs-Appellants,
                                       v.

                   STATE OF CALIFORNIA, et al.,

                                                    Defendants-Appellees.

         On Appeal from the United States District Court
               for the Central District of California
      Case No. 2:19-cv-10956-DMG-RAO | Hon. Dolly M. Gee


        PLAINTIFFS-APPELLANTS’ SUPPLEMENTAL
                EN BANC REPLY BRIEF

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          Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 2 of 28




                                  TABLE OF CONTENTS

                                                                                                      Page

INTRODUCTION ....................................................................................... 1

ARGUMENT ............................................................................................... 2

I.      The State Still Has Not Provided a Rational Explanation for
        AB5’s Classifications ......................................................................... 2

II.     The State’s Extrarecord Materials Provide No Basis for
        Affirmance ....................................................................................... 13

III.    This Court Should Reject the State’s Invitation to Overrule
        Precedent, Buck Supreme Court Authority, and Create a
        Circuit Split ..................................................................................... 18

CONCLUSION ......................................................................................... 21

CERTIFICATE OF COMPLIANCE ........................................................ 22




                                                      i
         Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 3 of 28




                              TABLE OF AUTHORITIES

                                                                                             Page(s)
Cases

Aleman v. Glickman,
   217 F.3d 1191 (9th Cir. 2000) .............................................................. 17

Allied Concrete & Supply Co. v. Baker,
   904 F.3d 1053 (9th Cir. 2018) ........................................................ 14, 19

Am. Soc’y of Journalists & Authors, Inc. v. Bonta,
  15 F.4th 954 (9th Cir. 2021) ............................................................ 9, 19

Angelotti Chiropractic, Inc. v. Baker,
  791 F.3d 1075 (9th Cir. 2015) .............................................................. 17

Boardman v. Inslee,
  978 F.3d 1092 (9th Cir. 2020) .............................................................. 11

Church of Lukumi Babalu Aye, Inc. v. City of Hialeah,
  508 U.S. 520 (1993) .............................................................................. 11

City of New Orleans v. Dukes,
   427 U.S. 297 (1976) .............................................................................. 18

Craigmiles v. Giles,
  312 F.3d 220 (6th Cir. 2002) ................................................................ 19

Fed. Energy Admin. v. Algonquin SNG, Inc.,
  426 U.S. 548 (1976) .............................................................................. 12

Fowler Packing Co. v. Lanier,
  844 F.3d 809 (9th Cir. 2016) .................................................. 2, 3, 13, 20

Gallinger v. Becerra,
  898 F.3d 1012 (9th Cir. 2018) .............................................................. 17

Hous. Cmty. Coll. Sys. v. Wilson,
  595 U.S. 468 (2022) .............................................................................. 13



                                                   ii
         Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 4 of 28




Hu v. City of New York,
  927 F.3d 81 (2d Cir. 2019) ................................................................... 16

Ind. Harbor Belt R. Co. v. Am. Cyanamid Co.,
  916 F.2d 1174 (7th Cir. 1990) ........................................................ 15, 16

Kahawaiolaa v. Norton,
  386 F.3d 1271 (9th Cir. 2004) .............................................................. 17

Kenna v. U.S. Dist. Court,
  435 F.3d 1011 (9th Cir. 2006) .............................................................. 12

Lacey v. Maricopa County,
  693 F.3d 896 (9th Cir. 2012) ................................................................ 16

Lazy Y Ranch Ltd. v. Behrens,
  546 F.3d 580 (9th Cir. 2008) ................................................ 3, 13, 16, 18

McCreary County v. Am. Civ. Liberties Union of Ky.,
  545 U.S. 844 (2005) .............................................................................. 12

Merrifield v. Lockyer,
  547 F.3d 978 (9th Cir. 2008) ............................................ 2, 3, 18, 19, 20

Minnesota v. Clover Leaf Creamery Co.,
  449 U.S. 456 (1981) ........................................................................ 14, 15

Quinn v. LPL Fin. LLC,
  91 Cal. App. 5th 370 (2023) ................................................................... 9

S.F. Taxi Coal. v. City & County of San Francisco,
   979 F.3d 1220 (9th Cir. 2020) .............................................................. 19

Sanchez v. Off. of State Superintendent of Educ.,
  45 F.4th 388 (D.C. Cir. 2022) ................................................................ 3

Sportsman v. A Place for Rover, Inc.,
  537 F. Supp. 3d 1081 (N.D. Cal. 2021) .................................................. 8

St. Joseph Abbey v. Castille,
   712 F.3d 215 (5th Cir. 2013) .......................................................... 11, 19


                                                  iii
          Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 5 of 28




Susan B. Anthony List v. Driehaus,
  573 U.S. 149 (2014) .............................................................................. 10

Taylor v. Rancho Santa Barbara,
  206 F.3d 932 (9th Cir. 2000) ................................................................ 17

Tiwari v. Friedlander,
  26 F.4th 355 (6th Cir. 2022) ................................................................ 19

U.S. Dep’t of Agric. v. Moreno,
  413 U.S. 528 (1973) ........................................................................ 11, 19

United States v. Carolene Prods. Co.,
  304 U.S. 144 (1938) .............................................................................. 14

United States v. Gillock,
  445 U.S. 360 (1980) .............................................................................. 13

United States v. Ritchie,
  342 F.3d 903 (9th Cir. 2003) ................................................................ 14

Vance v. Bradley,
  440 U.S. 93 (1979) ................................................................................ 15

Vill. of Willowbrook v. Olech,
   528 U.S. 562 (2000) ........................................................................ 13, 16

Von Saher v. Norton Simon Museum of Art at Pasadena,
  592 F.3d 954 (9th Cir. 2010) ................................................................ 15

Wisconsin v. Mitchell,
  508 U.S. 476 (1993) .............................................................................. 13

Zenelaj v. Handybook Inc.,
  82 F. Supp. 3d 968 (N.D. Cal. 2015) ...................................................... 8

Statutes

Cal. Lab. Code § 2777 ......................................................................... 5, 6, 9

Cal. Lab. Code § 2781 ................................................................................. 5



                                                   iv
         Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 6 of 28




Cal. Lab. Code § 2783 ............................................................................. 5, 9

Other Authorities

First Am. Compl., Darsey v. Wag Labs, Inc.,
   No. 2:17-cv-07014 (C.D. Cal. Sept. 22, 2017), Dkt. 30.......................... 8

Nat’l Emp. L. Project, About NELP,
  https://www.nelp.org/about-us/ (last visited Feb. 19, 2024) ............... 14

Order Granting Preliminary Approval of Class Action and
  PAGA Settlement, Finholt v. TaskRabbit, Inc.,
  No. BC722869 (Cal. Super. Ct. Aug. 17, 2020) ..................................... 8

Pet. for Writ of Administrative Mandate, TaskRabbit, Inc. v.
  Cal. Unemployment Ins. Appeals Bd.,
  No. CPF-16-515405 (Cal. Super. Ct. Dec. 15, 2016) ............................. 8




                                                   v
       Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 7 of 28




                             INTRODUCTION

     The State has now filed ten briefs and presented at three

arguments in this action—and still has not offered a rational explanation

for AB5’s byzantine classifications. The State asserts an overarching

justification for the law: that AB5 “makes it more difficult for employers

to evade labor requirements” by replacing the “complex and manipulable”

Borello standard with the “simpler, more structured” ABC test. State

Supp. Br. 1, 11–12. But the State addresses only one half of AB5 (the

establishment of a new standard), while ignoring the other half (the

numerous exemptions that draw nonsensical lines between similarly

situated parties, including Plaintiffs). It is the system of exemptions—

and not just the establishment of a new standard—that must be

rationally related to a legitimate governmental interest. The complaint’s

allegations, taken as true, establish that it is not.

     The State’s brief suffers from three major flaws. First, the State

nowhere offers a legitimate justification for the complaint’s allegations of

irrational targeting, which can be explained only by animus and political

favoritism.    Second, the State seeks to credit an eclectic mix of

extrarecord materials (ranging from advocacy think pieces to student



                                        1
       Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 8 of 28




literature) above the complaint’s well-pleaded allegations based on a

limitless understanding of legislative facts. Third, the State fails to

explain how an affirmance here could coexist with Merrifield v. Lockyer,

547 F.3d 978 (9th Cir. 2008), and Fowler Packing Co. v. Lanier, 844 F.3d

809 (9th Cir. 2016)—much less align with established Supreme Court

precedent and longstanding authority in other circuits.              This Court

should (like the panel) reverse the dismissal of the equal-protection claim

and allow Plaintiffs their day in court.

                                ARGUMENT

I.   The State Still Has Not Provided a Rational Explanation
     for AB5’s Classifications

     Even when “economic rights are at stake,” laws must be rationally

related to a legitimate governmental interest. Merrifield, 547 F.3d at

992. That well-settled principle dictates reversal of the district court’s

dismissal of the complaint because (A) AB5 draws lines that cannot be

explained (B) apart from animus or political favoritism.

     A.    In positing that AB5 rationally tailors the classification

standard to the risk of misclassification (State Supp. Br. 10–17), the

State refuses to confront the complaint’s allegations and overlooks the

governing pleading standard. A challenger ultimately bears the burden


                                        2
       Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 9 of 28




of negating “any reasonably conceivable state of facts that could provide

a rational basis for the classification.” Fowler Packing, 844 F.3d at 815.

But at the motion-to-dismiss stage, the court’s “inquiry” is necessarily

“limited” to assessing the law’s rational basis against “the allegations in

the complaint, which are accepted as true and construed in the light most

favorable to the plaintiff.” Lazy Y Ranch Ltd. v. Behrens, 546 F.3d 580,

588 (9th Cir. 2008); accord Sanchez v. Off. of State Superintendent of

Educ., 45 F.4th 388, 396 (D.C. Cir. 2022).

     Across 89 pages and 285 paragraphs, the complaint traces the

legislature’s circuitous path—extending a new standard broadly,

exempting referral agencies, and then specifically excluding network

companies from that exemption—to target network companies, while

currying support among similarly situated political favorites. 2-ER-47–

48, 2-ER-88–90, 2-ER-92, 2-ER-113–14 (SAC ¶¶ 7–10, 101–06, 113–14,

182–83). The complaint demonstrates that this irrational patchwork of

exemptions “undercut[s] [AB5’s] own rational basis.” Merrifield, 547

F.3d at 992.     And the complaint details that animus and political

favoritism are the only conceivable explanations for these exemptions.

2-ER-65–85, 2-ER-113, 2-ER-115–17 (SAC ¶¶ 63–94, 180, 187, 190–93).


                                        3
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 10 of 28




     The State chocks up the irrational line-drawing as “incremental[]”

legislation. State Supp. Br. 10, 31 n.23. But the statutory design and

legislative history refute that characterization. AB5 was a comprehensive

reform of employment-classification tests across every occupation that

did not “[l]eave[] [e]xisting [l]aw in [p]lace” for anyone. Id. at 13. The

legislature slanted the classification standard toward employee status for

the covered industries and tipped the standard back toward independent-

contractor status for the exempted industries, even though they were

previously subject to the ABC test for wage-order claims under Dynamex.

2-ER-64 (SAC ¶ 62).

     To state the obvious, reinstituting Borello for exempted entities

previously subject to Dynamex is not a rational means of replacing the

“complex and manipulable” Borello standard with the “simpler, more

structured” ABC test. State Supp. Br. 11–12. After widening the gap

between the two camps, the legislature then divvied up similarly situated

industries based on arbitrary and politically motivated distinctions.

Casting a wide net, releasing one’s friends, and keeping one’s foes is the

opposite of incremental.




                                       4
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 11 of 28




     The State offers a maxim to justify this differential treatment: The

legislature included industries wherever a risk of misclassification

existed and exempted them whenever the “Legislature reasonably

perceived little … risk.”     State Supp. Br. 10, 13.        But that directly

contradicts the complaint’s well-pleaded allegations. For example:

   Despite recognizing that “newspapers ha[d] lost nearly every case

     brought by carriers under Borello” and that the exemption would lead

     to the “continue[d] misclassif[ication]” of “historically misclassified”

     workers, such as “women of color,” the legislature added an

     exemption for newspaper distributors and carriers “as a condition

     of AB5’s passage.”       2-ER-76–77 (SAC ¶ 81) (Assemblymember

     Gonzalez); Cal. Lab. Code § 2783(h).

   The legislature likewise exempted workers in many “growth

     industries” that it specifically flagged as having “some of the

     highest misclassification rates … in the economy[]” (2-ER-49,

     2-ER-63–64, 2-ER-68–69 (SAC ¶¶ 11, 59, 62, 68))—including

     workers in the hospitality industry (Cal. Lab. Code § 2777(b)(2)(B))

     and construction truckers and subcontractors (id. § 2781).




                                       5
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 12 of 28




   The legislature gave a free pass to yard workers, picture hangers,

     and furniture assemblers, who boast no higher “barriers to entry”

     than do Plaintiffs. State Supp. Br. 14–15; 2-ER-69 (SAC ¶ 69).

     In other words, the complaint pleads directly and thoroughly that

the legislature did not draw lines based on the actual risk of

misclassification; it drew lines arbitrarily, irrationally, and based on

animus and political favoritism. And the State’s only answer—like the

district court’s—is to deny the facts that Plaintiffs have pleaded.

     The referral-agency exemption brings the legislature’s irrational

targeting into sharp relief.       After the district court observed that

Plaintiffs “would likely fall under” the exemption (2-ER-197 (Prelim. Inj.

Hr’g Tr. at 9:5–7)), the legislature acted swiftly to carve out courier and

transportation    companies—while          simultaneously      expanding      the

exemption to include all other types of commercial matchmakers (Cal.

Lab. Code § 2777(b)(2)(B)–(C)). The legislature did so with retroactive

effect to ensure there would be no way for “Uber [to] just say” that it ever

fit within the exemption (2-ER-83–84 (SAC ¶ 92))—as Uber had been

doing in defending against the State’s enforcement action (2-ER-092

(SAC ¶ 113)). The upshot is that TaskRabbit and Wag! can claim the


                                       6
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 13 of 28




exemption, but Uber and Postmates cannot—despite having “nearly

identical business models.” 2-ER-47–48, 2-ER-74–75, 2-ER-88–89 (SAC

¶¶ 8–10, 77, 102–04).

     The State’s response to this irrational treatment misses the point.

As the State observes, TaskRabbit and Wag! will qualify under the

exemption only if they “satisf[y] a long list of requirements”—a feat that

they may or may not ultimately accomplish. State Supp. Br. 20–21. The

complaint alleges that network companies can satisfy these requirements

just as easily as TaskRabbit and Wag! (2-ER-48, 2-ER-72–75, 2-ER-88–

89 (SAC ¶¶ 10, 74–77, 103–04)), which means the State’s argument fails

on its own terms. But the State never answers the more fundamental

question: Why does the “long list of requirements” identify valid referral-

agency arrangements when a company refers someone to walk a dog but

not drive a car? That Plaintiffs might fail to satisfy the exemption’s

requirements is no basis to prevent them from even attempting to do so

on equal terms with similarly situated parties.

     The State contends that the courier and transportation carveout

from the referral-agency exemption was a necessary “prophylactic” to

ensure “that businesses in high-misclassification industries” could not


                                       7
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 14 of 28




“circumvent application of the ABC test.” State Supp. Br. 19–20. Yet

again, the State disregards the complaint’s well-pleaded allegations that

network    companies     properly     classified   drivers    as   independent

contractors under then-existing law—as numerous courts and regulators

had found. 2-ER-63–64 (SAC ¶ 61); Appellants’ Reply Br. 17–18, Olson v.

California, No. 20-55267 (9th Cir. July 27, 2020) (collecting cases). And

it ignores that Wag! and TaskRabbit both faced similar misclassification

suits under Borello, belying any claim that network companies were more

prone to misclassify.*

     The State also studiously avoids Plaintiffs’ allegations that they are

similarly situated to many exempted workers in all relevant respects.

The complaint avers that workers who use network companies’ apps can

set their rates by leveraging offers from “multiple competitor apps

simultaneously to maximize income” (2-ER-57, 2-ER-70, 2-ER-71–72,


 * E.g., First Am. Compl. ¶¶ 4, 38, Darsey v. Wag Labs, Inc., No. 2:17-
cv-07014 (C.D. Cal. Sept. 22, 2017), Dkt. 30; Order Granting Preliminary
Approval of Class Action and PAGA Settlement, Finholt v. TaskRabbit,
Inc., No. BC722869 (Cal. Super. Ct. Aug. 17, 2020); Pet. for Writ of
Administrative Mandate ¶¶ 1, 19, TaskRabbit, Inc. v. Cal. Unemployment
Ins. Appeals Bd., No. CPF-16-515405 (Cal. Super. Ct. Dec. 15, 2016); see
also, e.g., Sportsman v. A Place for Rover, Inc., 537 F. Supp. 3d 1081, 1085
(N.D. Cal. 2021); Zenelaj v. Handybook Inc., 82 F. Supp. 3d 968, 970 (N.D.
Cal. 2015).

                                       8
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 15 of 28




2-ER-103 (SAC ¶¶ 41, 70, 73, 140)); can choose how to perform services

“free from the direction and control of network companies” (2-ER-71–72,

2-ER-109 (SAC ¶¶ 73, 167)); and can develop their own clientele

(2-ER-74–75, 2-ER-89 (SAC ¶¶ 77, 104)). And performing delivery and

transportation services via Plaintiffs’ apps certainly entails no more costs

or danger than other exempted occupations—like “moving,” “home

repair,” or “commercial fish[ing].”        Cal. Lab. Code §§ 2777(b)(2)(B),

2783(g); 2-ER-115–16 (SAC ¶ 189).

     The legislature’s irrational targeting of network companies starkly

distinguishes American Society of Journalists & Authors, Inc. v. Bonta,

15 F.4th 954 (9th Cir. 2021), and Quinn v. LPL Finance LLC, 91 Cal.

App. 5th 370 (2023). In both cases, different aspects of AB5 survived

constitutional challenge because journalists and finance professionals

were not subjected to irrational treatment. But the fact that others might

have received equal protection of law under AB5 does not somehow

obviate the constitutional violation alleged here. See Owner-Operator

Independent Drivers Br. 11–13.

     The State also argues that Plaintiffs lack standing to challenge the

“scope” of other exemptions. State Supp. Br. 27. This argument only


                                       9
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 16 of 28




reinforces that American Society of Journalists and Quinn addressed

fundamentally different claims from the one here. Especially because the

State continues to press its enforcement action against Uber under AB5

(2-ER-46, 2-ER-99 (SAC ¶¶ 4, 132)), Plaintiffs have a “personal stake in

the outcome of th[is] controversy” and standing to challenge the statute’s

enforcement (Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158

(2014)).

     B.    The complaint’s allegations support only two conceivable

bases for AB5’s irrational line-drawing:           animus towards network

companies and favoritism towards lobbying groups.               The legislature

subjected network companies to the stringent ABC test, while permitting

similarly situated gig-economy companies to qualify for the Borello test.

2-ER-69–72, 2-ER-88–89 (SAC ¶¶ 69–73, 103–04).                  The legislature

solicited “opt out” forms from any business requesting an exemption

(2-ER-77 (SAC ¶ 83)) but adamantly refused to consider one for “app-

based ride-hailing and delivery giants” (2-ER-80 (SAC ¶ 85)). And the

legislature publicly lambasted network companies for propagating

“feudalism” and the “continuation of hundreds of years of corporations




                                       10
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 17 of 28




trying to screw over workers.”         2-ER-50, 2-ER-80 (SAC ¶¶ 13, 86)

(Assembly Speaker Rendon).

     The State tries to sweep statements of animus under the rug,

urging the Court to ignore the legislative record. State Supp. Br. 34–35.

But the Constitution “does not demand judicial blindness to the history

of a challenged rule or the context of its adoption.” St. Joseph Abbey v.

Castille, 712 F.3d 215, 226 (5th Cir. 2013). Rather, courts may consider

“disparate impact on a particular group, departures from the normal

procedural sequence, and contemporary statements by members of the

decisionmaking body” as indicia of animus. Boardman v. Inslee, 978 F.3d

1092, 1119 (9th Cir. 2020) (quotation marks omitted). That is true for

rational-basis claims (U.S. Dep’t of Agric. v. Moreno, 413 U.S. 528, 534

(1973)), as for other constitutional claims (Church of Lukumi Babalu Aye,

Inc. v. City of Hialeah, 508 U.S. 520, 540 (1993)).

     For its part, the United States is wrong to discount the legislative

record as merely reflecting the personal biases of AB5’s “sponsor.” U.S.

Br. 6. The Supreme Court has given statements of “the legislation’s

sponsors … substantial weight in interpreting the” legislature’s intent.

Fed. Energy Admin. v. Algonquin SNG, Inc., 426 U.S. 548, 564 (1976);


                                       11
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 18 of 28




see, e.g., McCreary County v. Am. Civ. Liberties Union of Ky., 545 U.S.

844, 862 (2005). And as this Court has noted, the sponsor’s statements

carry even more weight “where, as here, other legislators did not offer

any contrary views” to counterbalance those marred with animus. Kenna

v. U.S. Dist. Court, 435 F.3d 1011, 1015 (9th Cir. 2006).

     The State also attacks a strawman argument that Plaintiffs have

never made: that the legislature would no longer be free to mention

specific companies as “‘examples of a larger problem’” without running

afoul of the Equal Protection Clause. State Supp. Br. 34. Of course the

legislature can use examples (think Enron) to motivate generally

applicable laws (think Sarbanes-Oxley). But what the legislature cannot

do is target network companies with a laser focus, while doling out

exemptions to other similarly situated entities. That is what Plaintiffs

have plausibly alleged, and those allegations must be taken as true.

     The State concludes by suggesting that the First Amendment

somehow prevents Plaintiffs from citing legislators’ public statements as

evidence of animus. State Supp. Br. 34–35. That is wrong at every level.

The First Amendment does not prevent litigants from using speech as

evidence.   Wisconsin v. Mitchell, 508 U.S. 476, 489 (1993).                  State


                                       12
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 19 of 28




legislators have no evidentiary privilege that bars their statements’

admission. United States v. Gillock, 445 U.S. 360, 374 (1980). And “[i]n

this country, we expect elected representatives to shoulder a degree of

criticism about their public service from their constituents and their

peers—and to continue exercising their free speech rights when the

criticism comes.” Hous. Cmty. Coll. Sys. v. Wilson, 595 U.S. 468, 478

(2022).

II.   The State’s Extrarecord Materials Provide No Basis for
      Affirmance

      Given the damning allegations of arbitrary treatment, the State

never even engages in the pretense of accepting the complaint’s

allegations as true—despite black-letter law that factual allegations are

taken as true when applying rational-basis review.                E.g., Vill. of

Willowbrook v. Olech, 528 U.S. 562, 565 (2000) (per curiam); Fowler

Packing, 844 F.3d at 814; Lazy Y Ranch, 546 F.3d at 588. The State

seemingly relies on everything but the complaint, citing (among other

things) a student note (State Supp. Br. 20, 23–24), policy statements from

an advocacy group (id. at 10, 15–17), and evidentiary materials

submitted only as to the motion for preliminary injunction (id. at 23).




                                       13
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 20 of 28




     The State never argues that any of these extrarecord sources are

incorporated by reference in the complaint or satisfy the stringent

requirements for judicial notice. United States v. Ritchie, 342 F.3d 903,

908 (9th Cir. 2003). Instead, it purports to have uncovered “legislative

facts” (State Supp. Br. 26) in the far-flung pages of student-run journals

and on the website of the National Employment Law Project, a self-

described “advocacy organization” (Nat’l Emp. L. Project, About NELP,

https://www.nelp.org/about-us/ (last visited Feb. 19, 2024)).

     Legislative    facts   are   not    whatever     seems     relevant      to   a

governmental litigant while surfing the web or googling for law-review

articles about Uber. If the State means to argue that the legislature

made a rational judgment based on the evidence presented to it, then

that is what the State must demonstrate: that the evidence was actually

“presented to [the legislature]” or satisfies the requirements for “judicial

notice.” Minnesota v. Clover Leaf Creamery Co., 449 U.S. 456, 464 (1981)

(quoting United States v. Carolene Prods. Co., 304 U.S. 144, 154 (1938));

see, e.g., Allied Concrete & Supply Co. v. Baker, 904 F.3d 1053, 1061 (9th

Cir. 2018).




                                        14
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 21 of 28




     The State will have that opportunity during discovery. But the

Supreme Court has cautioned that reliance on legislative facts may not

be appropriate “on the pleadings.” Clover Leaf, 449 U.S. at 464 n.8. And

the Seventh Circuit has similarly concluded that “[i]f facts critical to a

decision on whether [a particular legal standard should apply] cannot be

determined with reasonable accuracy without an evidentiary hearing,

such a hearing can and should be held.” Ind. Harbor Belt R. Co. v. Am.

Cyanamid Co., 916 F.2d 1174, 1182 (7th Cir. 1990). The State cannot

just cherry-pick the online sources nearest at hand for its appellate brief.

     The State also tries to expand the category of legislative facts to

include “historical fact[s],” which even the State recognizes would be

improper. State Supp. Br. 25–26 (quoting Vance v. Bradley, 440 U.S. 93,

111 (1979)).   Some legislative facts are truisms—for example, “that

aging—almost by definition—inevitably wears us all down.” Vance, 440

U.S. at 112. Others are well-known historical events—for example, that

American troops “discovered large stashes of Nazi-looted art” during

World War II. Von Saher v. Norton Simon Museum of Art at Pasadena,

592 F.3d 954, 960, 962 (9th Cir. 2010). These universal propositions form

a backdrop against which legislatures can rationally make statutory


                                       15
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 22 of 28




classifications. But an overly broad conception of legislative facts would

encourage judges to find facts based on preconceptions, thereby removing

factual disputes from the adjudicative process. See Ind. Harbor Belt, 916

F.2d at 1182.

     The State pushes the concept of legislative facts well beyond its

limits in trying to preempt litigation of the hotly disputed factual

question whether Uber and Postmates presented greater risks of

misclassification than did Wag! and TaskRabbit. State Supp. Br. 23–25.

Whether two parties are similarly situated is a question of fact generally

not suited for a motion to dismiss, let alone for extrarecord sleuthing on

appeal. E.g., Lacey v. Maricopa County, 693 F.3d 896, 921 (9th Cir. 2012);

Hu v. City of New York, 927 F.3d 81, 97 (2d Cir. 2019). That is true

(contra U.S. Br. 8–9) regardless whether the claim proceeds on a “class of

one” theory. Lazy Y Ranch, 546 F.3d at 590–92; accord Olech, 528 U.S.

at 565 n.1 (“the number of individuals in a class is immaterial for equal

protection analysis”).

     The State does not cite a single case approving its kitchen-sink

approach to legislative facts. Most of its cases involve legislative reports,

which (needless to say) are before the legislature at the time of enactment


                                       16
         Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 23 of 28




and therefore are permissible. See Gallinger v. Becerra, 898 F.3d 1012,

1020 (9th Cir. 2018); Angelotti Chiropractic, Inc. v. Baker, 791 F.3d 1075,

1087–88 (9th Cir. 2015); Taylor v. Rancho Santa Barbara, 206 F.3d 932,

937 (9th Cir. 2000). Plaintiffs agree this Court can review legislative

reports—indeed, the complaint discusses several reports showing that

AB5’s exemptions undercut its stated bases. 2-ER-63, 2-ER-68–71 (SAC

¶¶ 59, 68–71).

     None of the State’s cited authorities used extrarecord sources to

resolve factual disputes about the plaintiffs, as the State attempts to do

here. One cited a law-review article in discussing legal issues but didn’t

purport to use it to resolve factual disputes. Kahawaiolaa v. Norton, 386

F.3d 1271, 1283 (9th Cir. 2004).            And only one decision (Aleman v.

Glickman, 217 F.3d 1191 (9th Cir. 2000)) cited a source that postdated

the challenged law’s enactment for a factual issue—and even there, this

Court relied on the source only for the uncontested across-the-board

amount of monthly benefits under the federal food-stamp program (id. at

1203).

     In short, the State’s use of extrarecord materials conflicts with

precedent and, if endorsed by this Court, would severely dilute rational-


                                          17
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 24 of 28




basis review. Existing precedent gives plaintiffs an opportunity “to rebut

the facts underlying defendants’ asserted rationale for a classification.”

Lazy Y Ranch, 546 F.3d at 590–91.            But if the State were right, a

defendant could trawl online for something—anything—to toss into its

motion to dismiss before the plaintiff has had a chance to engage in

discovery. That is not how legislative facts work.

III. This Court Should Reject the State’s Invitation to Overrule
     Precedent, Buck Supreme Court Authority, and Create a
     Circuit Split

     The State’s position cannot be squared with two of this Court’s

important equal-protection decisions: Merrifield and Fowler Packing.

The State tries to downplay and overrule Merrifield, while doing its best

to ignore Fowler Packing altogether. Its indirect responses confirm that

longstanding precedent precludes dismissal here.

     To start, the State argues that Merrifield was “wrongly decided”

and suggests “[t]he en banc Court may wish to consider overruling” it.

State Supp. Br. 30–31. But Merrifield dutifully followed the Supreme

Court’s manual on rational-basis review.             While recognizing that

“[l]egislatures may implement their program step by step” (547 F.3d at

989 (quoting City of New Orleans v. Dukes, 427 U.S. 297, 303 (1976))),



                                       18
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 25 of 28




this Court made clear that a law cannot withstand review when “the

state’s own rationale” for the law defeats the rationale for an exemption

(id. at 991). Any other result would have marked a retreat from Supreme

Court precedent (Moreno, 413 U.S. at 537–38) and spawned a circuit split

to boot (Craigmiles v. Giles, 312 F.3d 220, 227–29 (6th Cir. 2002)).

     The State invites the Court to overrule Merrifield because

“subsequent panels have taken pains to limit its holding.” State Supp.

Br. 30. But this Court has never abandoned the axiomatic principle that

an exemption is irrational when it undercuts the law’s only legitimate

basis. Many of the cases the State cites say just that. Am. Soc’y of

Journalists, 15 F.4th at 965–66; S.F. Taxi Coal. v. City & County of San

Francisco, 979 F.3d 1220, 1224–25 (9th Cir. 2020); Allied Concrete, 904

F.3d at 1065–66. Overruling Merrifield would be an avulsive change to

this Court’s equal-protection doctrine and would create a rift with other

circuits that have subsequently embraced Merrifield. E.g., Tiwari v.

Friedlander, 26 F.4th 355, 368 (6th Cir. 2022); St. Joseph Abbey, 712 F.3d

at 222 & n.38.

     The State hedges with a half-hearted suggestion that the district

court’s dismissal was consistent with Merrifield. State Supp. Br. 31–32.


                                       19
       Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 26 of 28




But its arguments miss the fundamental parallel between the cases,

which both involve legislative exemptions that countermand the law’s

only rational basis.       Merrifield addressed an exemption for pest

controllers who were most likely to use pesticides, thus undermining

“[o]ne of the principal bases” for the legislation—that regulated

controllers might encounter dangerous pesticides. State Supp. Br. 31.

AB5 likewise undercuts its principal basis—that Borello is too flexible

and easy to meet—by reinstating Borello for the millions of workers who

received an exemption. If Borello provides too little scrutiny or too little

certainty for Uber, then it also does for the exempted industries.

2-ER-48, 2-ER-89 (SAC ¶¶ 10, 104). As in Merrifield, the Court “cannot

simultaneously uphold the [ABC test] based on one rationale and then

uphold [app-based drivers’] exclusion from the exemption based on a

completely contradictory rationale.” 547 F.3d at 991.

      The State describes Fowler Packing as holding “that legislation

fails rational-basis review if its ‘only conceivable [basis]’ is to arbitrarily

target certain individuals or businesses to ‘procure the … support’ of

powerful interest groups.” State Supp. Br. 33 (quoting 844 F.3d at 816).

Although the State asserts “that is far from the only conceivable basis for


                                        20
         Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 27 of 28




AB 5 and its exemptions” (id.), this case involves the same allegations of

irrational targeting and political favoritism that survived a motion to

dismiss in Fowler Packing (see supra, at 3–6). So the State, again, can

support its position only by adopting a counter-narrative that contradicts

the complaint’s well-pleaded allegations.

                                  CONCLUSION

     The Court should reverse the dismissal of the equal-protection

claim.

Dated: February 19, 2024                   Respectfully submitted,

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                                          21
      Case: 21-55757, 02/19/2024, ID: 12861113, DktEntry: 97, Page 28 of 28




                  CERTIFICATE OF COMPLIANCE

     I certify that, pursuant to Fed. R. App. P. 32(a) and Ninth Circuit

Rule 32-1(e), the attached response is proportionately spaced, has a

typeface of 14 points, and complies with the word limitations established

by the Court’s January 11, 2024 order granting the State’s motion for

supplemental briefing (Dkt. 72) because it contains 3,983 words.


Dated: February 19, 2024

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                                       22
